United
   CaseStates District Court for the Western
          3:18-cv-00058-JHM-DW               District2of Filed
                                       Document          Kentucky
                                                               01/29/18 Page 1 of 1 PageIDPage 1 of 1
                                                                                           #: 29




                                     Case Assignment
                                 Standard Civil Assignment
                              Case number 3:18CV-58-JHM

                              Assigned : Chief Judge Joseph H. McKinley Jr.
                              Judge Code : 4414


                              Designated Magistrate Judge : Magistrate Judge Dave Whalin
                              Magistrate Judge Code : 44AP

                                                                    Assigned on 1/29/2018 8:57:11 AM
                                                                                 Transaction ID: 11199

                                      Request New Judge    Return




https://casemgt.kywd.circ6.dcn/CaseAssign.asp?Action=CVCA                                   1/29/2018
